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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                            District
                                                    __________       of Arizona
                                                               District of __________

                                                                      )
 Dr. Michael P. Ward, D.O. and Dr. Kelli Ward, D.O.,                  )
 husband and wife; and Mole Medical Services, P.C.,                   )
        an Arizona Professional Corporation;                          )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 3:22-cv-08015-JFM
                                                                      )
    Bennie G. Thompson, in his official capacity as                   )
     Chairman of the House Select Committee to                        )
   Investigate the January 6th Attack on the United                   )
                 States Capitol; et al.                               )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Attn: Patricia Caudwell
                                           T-Mobile USA, Inc., a Delaware Corporation
                                           12920 SE 38th Street
                                           Bellvue, WA 98006




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alexander Kolodin
                                           Roger Strassburg
                                           4105 North 20th Street
                                           Suite 110
                                           Phoenix, AZ 85016


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             02/03/2022
                                                                                          Signature of Clerk or Deputy Clerk




                                                                                                        ISSUED ON 6:15 am, Feb 04, 2022
                                                                                                           s/ Debra D. Lucas, Clerk
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 Civil Action No. 3:22-cv-08015-JFM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
